1. The act approved March 29, 1937 (Ga. L. 1937, p. 806), levying contributions on the privilege of employing eight or more persons in this State, for the benefit of eligible workmen who become unemployed without fault on their part. and providing for administration of the fund thus created, and for other purposes, and known as the "unemployment compensation law," is not as a whole violative of (a) Article 9 of the constitution of the United States (Code, § 1-809), providing that the enumeration of certain rights shall not be construed to deny or disparage others retained by the people. Livingston v.
Moore, 32 U.S. 469, 551 (8 L. ed. 751); Ohio ex rel. Lloyd  v. Dollison, 194 U.S. 445 (24 Sup. Ct. 703,  48 L. ed. 1062); Brown v. New Jersey, 175 U.S. 172 (20 Sup. Ct. 77,  44 L. ed. 119); Brown v. Walker, 161 U.S. 591, 606
(16 Sup. Ct. 644, 40 L. ed. 819). (b) Or of the fourteenth amendment of the constitution of the United States (Code, § 1-815), providing that no State shall deprive any person of life, liberty, or property, without due process of law, nor deny to any person within its jurisdiction the equal protection of the laws. Livingston v. Moore, 32 U.S. 469, 551 (8 L. ed. 751); Ohio ex rel. Lloyd v. Dollison, supra; Brown v. New Jersey, supra; Brown v. Walker, supra. (c) Or of article 1, section 1, paragraph 3, of the constitution of this State (Code, § 2-103), declaring guaranty as to due process. Lindsley v. Natural Carbonic Gas Co., 220 U.S. 61
(31 Sup. Ct. 337, 55 L. ed. 369); Steward Machine Co. v. Davis,  301 U.S. 548 (57 Sup. Ct. 883, 81 L. ed. 1279, 109 A.L.R. 1293); Dixie-Ohio Express Co. v. State Revenue Commission,  186 Ga. 228 (197 S.E. 887), affirmed, 306 U.S. 72
(59 Sup. Ct. 435, 84 L. ed. 323); Coy v. Linder, 183 Ga. 583
(189 S.E. 26); Rourke v. United States Fidelity  Guaranty Co., 187 Ga. 636 (1 S.E.2d 728). (d) Or of article 1, section 1, paragraph 23, of the constitution of this State, providing for separation of legislative, judicial, and executive powers (Code, § 2- 123). Carroll v. Wright,  131 Ga. 728 (63 S.E. 260). (e) Or of article 1, section 4, paragraph 1, of the constitution of this State (Code, § 2-401, relating to general and special laws. South Georgia Mercantile Co. v. Lance, 143 Ga. 530 (85 S.E. 749);  Family Finance Co. v. Allman, 174 Ga. 467
(163 S.E. 143). (f) Or of article 3, section 7, paragraph 8, of the constitution of this State (Code, § 2-1808), inhibiting passage of a law referring to more than one subject-matter, or containing matter *Page 730 
different from what is expressed in the title. Plumb v.  Christie, 103 Ga. 686, 700 (30 S.E. 759, 42 L.R.A. 181); Hart v. State, 113 Ga. 939 (39 S.E. 321);  Stewart v. Anderson, 140 Ga. 31 (78 S.E. 457); Morgan
v. Lowry, 168 Ga. 723 (149 S.E. 37); Head v.  Wilkinson, 186 Ga. 739 (198 S.E. 782); Rossman v.  Moultrie, 189 Ga. 681 (7 S.E.2d 270).
2. Section 19 (g) (1) of said act, defining employer (Code Ann. § 54-657 (g) (1), is not (a) in conflict with the fourteenth amendment to the constitution of the United States (Code, § 1-815); Carmichael v. Southern Coal Co., 301 U.S. 495, 507
(57 Sup. Ct. 868, 81 L. ed. 1245); or (b) article 1, section 1, paragraph 1, of the constitution of this State (Code, § 2-101), declaring that all government originates with the people and is founded on their will and consent. Williamson
v. Housing Authority of Augusta, 186 Ga. 673
(199 S.E. 43).
3. Section 14(a) of said act, declaring the rate of interest which contributions required of employers shall bear after they become due and payable (Code Ann. § 54-647), is not in conflict with § 57-101 or § 57-117, and therefore is not violative of article 1, section 4, paragraph 1, of the constitution of Georgia (Code, § 2-401), relating to general and special laws. South Georgia Mercantile Co. v. Lance, supra; Family Finance Co. v. Allman, supra.
4. Section 7(a) of said act, declaring the date from which contributions shall be required of employers, subject to qualification or exceptions stated (Code Ann. § 54-620), is not violative of article 1, section 8, paragraph 3, of the constitution of the United States (Code, § 1-125 (3)), as imposing an unwarranted burden on interstate commerce. Robbins  v. Shelby County Taxing District, 120 U.S. 489, 493
(7 Sup. Ct. 592, 30 L. ed. 694); Gloucester Ferry Co. v.
Pennsylvania, 114 U.S. 196, 215 (5 Sup. Ct. 826,  29 L. ed. 158); New York, New Haven  Hartford Railroad Co. v. New York, 165 U.S. 628, 631 (17 Sup. Ct. 418, 41 L. ed. 853); Missouri, Kansas  Texas Railway Co. v. Haber, 169 U.S. 613,  628 (18 Sup. Ct. 488, 42 L. ed. 878).
5. Section 7 (b) of said act, prescribing the rate or percentage of wages to be contributed by employers (Code Ann. § 54-621), is not violative of article 1, section 5, paragraph 2, of the constitution of this State (Code, § 2-502), providing that the enumeration of certain rights shall not be construed to deny to the people any rights previously enjoyed by them. Chamberlin v. Andrews, 299 U.S. 515 (57 Sup. Ct. 122,  81 L.ed. 380); Steward Machine Co. v. Davis, supra; Carmichael  v. Southern Coal c. Co., supra; Buckstaff Bath House Co.  v. McKinley, 308 U.S. 358 (60 Sup. Ct. 279, 83 L. ed. 495); Beeland Wholesale Co. v. Kaufman, 234 Ala. 249
(174 So. 516); Payne Lumber Co. v. McKinley, . . . Ark. (July 8, 1940); Tatum v. Wheeless, 180 Miss. 800 (178 So. 95); Unemployment Compensation Commission v. Jefferson Standard Life Insurance Co., 215 N.C. 479 (2 S.E.2d 584); Southern Photo  Blue Print Co. v. Gore, 173 Tenn. 69 (114 S.W.2d 796); Friedman v. American Surety Co., . . . Texas (April 9, 1941).
6. Section 8 of said act, relating to election of employers with respect to being subject to the act, duration and termination of liability thereunder (Code Ann. § 54-623), is not violative of article 1, section 1, paragraph *Page 731 
1, of the constitution of this State (Code, § 2-101), as to origin and foundation of government. Chamberlin v. Andrews, supra; Steward Machine Co. v. Davis, supra; Carmichael v.
Southern Coal  Coke Co., supra; Buckstaff Bath House Co. v.
McKinley, supra; Beeland Wholesale Co. v. Kaufman, supra; Payne Lumber Co. v. McKinley, supra; Tatum v. Wheeless, supra; Unemployment Compensation Commission v. Jefferson Standard Life Insurance Co., supra; Southern Photo  Blue Print Co. v. Gore, supra; Friedman v. American Surety Co., supra.
7. The defendant's demurrer having been based solely on the ground that the act above referred to was unconstitutional in the particulars pointed out above, it was not erroneous to overrule the same.
                     No. 13844. SEPTEMBER 13, 1941.
To a suit brought by the commissioner of labor against Gernatt, to recover a sum alleged to be due under the Georgia "unemployment compensation law," a demurrer based solely on alleged grounds of unconstitutionality of the law was overruled, and Gernatt excepted. A constitutional attack is made on the act as a whole, and on several of its sections. While the identical questions presented have not heretofore reached this court, like assaults have been made on similar legislation enacted in a number of States. In no instance have the attacks been successful. In so far as the attack involves contention that the act is contrary to certain provisions of the constitution of the United States, the Federal Supreme Court has decided to the contrary, as will be seen by a reference to the authorities cited in the headnotes. "When we know with certainty that a question arising under the constitution of the United States has been definitely decided by the Supreme Court of that government, it is our duty to accept the decision, for the time being, as correct, whether it coincides with our own opinion or not. Any failure of due subordination on our part would be a breach, rather than the administration, of law." Wrought Iron Range Co. v. Johnson,84 Ga. 754, 759 (11 S.E. 233, 8 L.R.A. 273). In so far as it is claimed that the act or some one of its constituent parts is in conflict with certain provisions of the constitution of this State, from the very nature *Page 732 
of the case none of these precedents can be absolutely controlling. However, as to those portions of the constitution of this State relied on as nullifying the legislation, the courts of other States having similar constitutional provisions have examined the same points of attack, and have in each instance held the statute valid. No attempt is made in the brief of counsel for the plaintiff in error to distinguish any of the cases hereinafter referred to; nor is there any insistence that there is anything peculiar in the organic law of Georgia that would make inapplicable as persuasive authority these decisions of other States; nor is there pointed out any difference in any of the provisions of the Georgia statute which would call for a different holding. The demurrer raises fundamental questions; and had not the argument pro and con been so frequently examined, it might be of interest to discuss them here in detail. There is already, however, abundant judicial precedent on every ground of the demurrer. The headnotes rule separately on the grounds of demurrer. In addition to the authorities there cited, see Gillumv. Johnson, 7 Cal.2d 744 (62 P. 1037, 63 P. 810); Suppiger v. Enking, 60 Idaho 292 (91 P.2d 362); Industrial Commission v. Northwestern Mutual Life Insurance Co., 103 Colo. 550
(88 P.2d 560); Maine U. C. Com. v. Androscoggin Inc., . . . Maine (Nov. 7, 1940); Chamberlin v. Andrews, 271 N.Y. 1
(2 N.E.2d 22); Gibson Products Co. v. Murphy, 186 Okla. 714
(100 P.2d 543); Globe Grain c. Co. v. Industrial Com.,93 Utah, 36 (91 P.2d 512); Shelton Hotel Co. v. Bates,4 Wn.2d 498 (104 P.2d 476); Murphy v. Hurlbut Undertaking c. Co., 346 Mo. 405 (142 S.W.2d 449); Commonwealth v.
Perkins, . . . Pa. (1940). The judgment overruling the demurrer is
Affirmed. All the Justices concur.